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IN THE UNI'I`ED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS

 

DALLAS DIVISION
JEWELLEAN MOORE and §
ARTHUR CARS ON, §
§ l
Plaimiffr § §
§ NO. 3:16-CV-1080-M-BN
v. §
§
REALPAGE INC., ET AL., §
§
Defendants §

ORDER GRANTING CONTINUANCE OF HEARING

Before the Court is the Parties’ Joint Notice of Settlement and Request for Continuance
of Hearing, in Which the Parties seek a 30 day continuance of the scheduling conference set for

10:00 a.m. on September 26, 2016. The Court grants the relief sought in that Motion. The Rule

l6(b) pretrial scheduling conference is continued to [§U(j Q&m., on
(y.A`O )OQ[ 3/")" , 2016, unless this case is sooner dismissed with

prejudice pursuant to the settlement of the Parties. The hearing Will occur in Courtroom 1561,
1100 Commerce Street, Dallas, Texas 75242 before United States Magistrate Judge David L.
Horan.

SO ORDERED.

 

DATED: September Q`Q 2016

  

 

YSAVID L. HoRAN
UNITED sTA'rEs MAGISTRATE JUDGE

 

 

